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                                      Prttnofotck IBibtOiott

              UNITED STATES OF AMERICA,

                      Plaintiff,                                  OR 418-274
              V.



              HIGINIO PEREZ-BRAVO,

                       Defendant.


                                                     ORDER


                      Defendant     Higinio      Perez-Bravo      filed    a      Motion      for

              Authorization to Spend Funds to Hire Investigator.               Doc. 49.      After

              due consideration and for the following reasons. Defendant Perez-

              Bravo's      Motion   for      Authorization   to    Spend   Funds        to    Hire

              Investigator is GRISTED.          Mr. Perez-Bravo has additionally filed

              a Motion for Early Hearing on his motion.                Doc. 58.    Mr. Perez-

              Bravo's motion for hearing is DENIED as moot.

                      Mr. Perez-Bravo is charged in this case with Conspiracy to

              Commit Murder for Hire with the following offense in violation of

              18     U.S.C.   §   1958(a).      In   paragraphs   19    through    27    of   the

              Indictment, and paragraphs number 116 through 131, it is alleged,

              among other things, that Defendant conspired with his Codefendants

              for the     purpose of murdering Eliud           Montoya for money and the

              promise of money, in violation of the laws of the United States


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and the State of Georgia, which resulted in the death of Eliud

Montoya.

      Upon evaluation of Mr. Perez-Bravo's financial circumstances

at his initial appearance, the Magistrate Judge determined that

Mr. Perez-Bravo was indigent and appointed counsel to him. Doc.

20.


      In    light   of   the   allegations   in   the   indictment   and      the

discovery produced by the Government, Mr. Perez-Bravo asks for

authorization under 18 U.S.C. § 3006A to spend funds to hire an

investigator to assist with preparation and presentation of his

case.      Doc.   49.    Mr.   Perez-Bravo   asserts    the   services   of    an

investigator are vital to his defense, necessary to adequately

prepare for trial, necessary to ensure effective assistance of

counsel and due process of law.          Id.      Mr. Perez-Bravo stresses

that this case involves an alleged homicide and that he is facing

the possibility of a capital sentence.               Id.      Mr. Perez-Bravo

further asserts that having a Spanish-speaking investigator is

critical because he does not speak English.             Id.

        Mr. Perez-Bravo specifically asks for authorization to expend

funds to hire investigator Catherine Herrera-Vachon and provides

investigator Catherine Herrera-Vachon's curriculum vitae.                     Id.

Although Mr. Higinio Perez-Bravo does not request authorization

for a      specific amount to obtain investigator             Herrera-Vachon's

services, the Motion does estimate that the charges would not
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exceed $15,000.00 including trial.          This amount was estimated at

$75.00 per hour at 200 hours.

     Upon due consideration, Mr. Higinio Perez-Bravo's Motion is

GRANTED.   The Court finds that the services requested in Mr. Perez-

Bravo's Motion are necessary for adequate representation in these

circumstances,    that   Mr.   Perez-Bravo    is   financially   unable   to

obtain them on his own, and, therefore, CERTIFIES that the funds

sought     by   Mr.    Perez-Bravo    are     necessary    for    adequate

representation.       Defendant Perez-Bravo is hereby authorized to

spend funds in an amount up to but not exceeding $15,000.00 to

retain investigator Catherine Herrera-Vachon.          In accordance with

18 U.S.C. § 3006A(e){3), the funds will be released upon approval

of the Chief Judge of the Circuit.

     If Mr. Perez-Bravo seeks authorization for additional funds

related to investigator services in this matter, Mr. Perez-Bravo

shall submit a written request to the Court for such authorization

and shall detail the specific amounts sought and a description of

the services to be obtained.

     Because the Court has granted Mr. Perez-Bravo's Motion for

Authorization to Spend Funds to Hire Investigator, his Motion for

Hearing, doc. 58, is DENIED as moot.
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                so ORDERED, this 6^ day of February, 2019



                                        HON. (I/ESA GODBEY WOOD, JUDGE
                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA




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